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" Case 2:18-cr-20323-SFC-APP ECF No. 110 filed 10/25/18 Page|D.319 Page 1 015

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
CRll\/HNAL NO. 18-20323
v.
HON. SEAN F. COX
D-l, SEDRICK JACKSON,

 

a.k.a. “Sed, ” a.k.a. “C Papers, ” VIOLATIONS: 21 U.S.C. § 846

a.k.a. “Derrl`ck.]ohnson” 21 U.S.C. § 841(&)(1)
D-2, ROBERT HARRIS, 18 U.S.C. § 924(€)

a.k.a. “Daddy O, ” a.k.a. “D.O., ” 18 U.S.C. § 922(§)(1)
D-3, RONALD CLEMMONS, 18 U.S.C. § 1001(3)(2)
D-4, YALEX JOHN GARCIA-LOPEZ, 18 U.S.C. § 1956(h)

a.k.a. “the szth, ”
D-5, IRIDIAN GALVEZ,
D-6, MELTWAINE DUKES,
D-7, DUSHONN SHEPHARD,
D-8, DEJUAN PERDUE,
a-k-a- “CHZ, ” §11§£1 :1'~:§€ - cz_:s:z 555
D~9, EDEN ADRIANO-GALVEZ, 2915-§ UC`:' 25 F'H£f:‘§.*l
a.k.a. "Jesus Eden Adriano-Galvez, ”
a.k.a. “E, ” a.k.a. “E Papers, ”
D-l(), JOSEPH PULIDO,
a.k.a. “11/fonkey, "
D-11, CHRISTOPHER GAYTAN,
D~IZ, MONYCA JACKSON,
D-13, LUZ JIMENEZ,
a.k.a. “Chata, "
D-14, CHRISTOPHER STATON, !

Defendants.

 

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THIRD SUPERSEDING INDICTMENT
THE GRAND JURY CHARGES:

COUNT ONE
21 U.S.C. §§ 846 and 841(a)(1)
Conspiracy to Possess With Intent to I)istribute Controlled Substances

D-1, SEDRICK JACKSON,

D-Z, ROBERT HARRIS,

D-3, RONALD CLEMMONS,
D-4, YALEX JOHN GARClA-LOPEZ,
D-6, MELTWAINE DUKES,

D-7, DUSHONN SHEPHARD,
D-8, DEJUAN PERDUE,

D-9, EDEN ADRIANO-GALVEZ,
D-l(), JOSEPH PULIDO,

D»11, CHRISTOPHER GAYTAN,
D-14, CHRISTOPHER STATON,

1. From an unknown date, but at least as early as 2012, to in or about
Novelnber 2017, in the Eastern District of Michigan, Southern Division, and
elsewhere, defendants, SEDRICK JACKSON, ROBERT HARRIS, RONALD
CLEMMONS, YALEX JOHN GARCIA-LOPEZ, MELTWAINE DUKES,
DUSHONN SHEPHARD, DEJUAN PERDUE, EDEN ADRIANO-GALVEZ,
JOSEPH PULIDO, CHRISTOPHER GAYTAN and CHRISTOPHER STATON
knowingly and intentionally conspired and agreed with each other and With other
individuals, known and unknown to the Grand Jury, to distribute and to possess with

the intent to distribute controlled substances

 

 

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2. The amount and type of controlled substances attributable to SEDRICK
JACKSON are one kilogram or more of a mixture and substance containing a
detectable amount of heroin, a Schedule I controlled substance, 400 grams or more
of a mixture and substance containing l\l-phenyl-N- [ 1-( 2-phenylethyl ) »4»
piperidinyl ] propanamide (more commonly known as fentanyl), a Schedule II
controlled substance, and five kilograms or more of a mixture and substance
containing a detectable amount of cocaine, a Schedule 11 controlled substance

3. The amount and type of controlled substances attributable to ROBERT
HARRlS are 400 grams or more of a mixture and substance containing N-phenyl-
:N-[ 1-(2-pheny1ethy1)-4-piperidiny1 ] propanamide (more commonly known as
fentanyl), a Schedule ll controlled substance

4. The amount and type of controlled substances attributable to RONALD

 

CLEMMONS are one kilogram or more of a mixture and Substance containing a
detectable amount of heroin, a Schedule l controlled substance, and five kilograms
or more of a mixture and substance containing a detectable amount of cocaine, a
Schedule ll controlled substance

5. The amount and type of controlled substances attributable to YALEX
JOHN GARClA-LOPEZ are one kilogram or more of a mixture and substance

containing a detectable amount of heroin, a Schedule I controlled substance,

 

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400 grams or more of a mixture and substance containing N-phenyl-N-[ 1-( 2-
phenylethyl ) -4-piperidinyl ] propanamide (more commonly known as fentanyl), a
Schedule 11 controlled substance and five kilograms or more of a mixture and
substance containing a detectable amount of cocaine, a Schedule ll controlled
substance

6. The amount and type of controlled substances attributable to
MELTWAINE DUKES are one kilogram or more of a mixture and substance

containing a detectable amount of heroin, a Schedule l controlled substance,

 

400 grams or more of a mixture and substance containing N-phenyl-N-[ 1- ( 2-
phenylethyl ) -4-piperidinyl ] propanamide (more commonly known as fentanyl), a
Schedule 11 controlled substance, and five kilograms or more of a mixture and
substance containing a detectable amount of cocaine, a Schedule ll controlled
substance

7. The amount and type of controlled substances attributable to
DUSHONN SHEPHARD are 400 grams or more of a mixture and substance
containing N-phenyl-N-[ 1-(Z-phenylethyl)-4~piperidiny1 ] propanamide (more
commonly known as fentanyl), a Schedule 11 controlled substance

8. The amount and type of controlled substances attributable to DEJUAN

PERDUE are one kilogram or more of a mixture and substance containing a

 

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detectable amount of` heroin, a Schedule l controlled substance

9. The amount and type of controlled substances attributable to EDEN
ADRIANO-GALVEZ are one kilogram or more of a mixture and substance
containing a detectable amount of heroin, a Schedule 1 controlled substance
400 grams or more of a mixture and substance containing N-phenyl-N-[ l-(Z-
phenylethyl ) -4-piperidinyl ] propanamide (more commonly known as fentanyl), a
Schedule ll controlled substance and five kilograms or more of a mixture and
substance containing a detectable amount of cocaine, a Schedule ll controlled
substance

10. The amount and type of controlled substances attributable to JOSEPH
PULIDO are one kilogram or more of a mixture and substance containing a
detectable amount of heroin, a Schedule I controlled substance 400 grams or more
of a mixture and substance containing N-phenyl-N-[ 1-(2-pheny1ethyl)-4-
piperidinyl ] propanamide (more commonly known as fentanyl), a Schedule 11
controlled substance, and five kilograms or more of` a mixture and substance
containing a detectable amount of cocaine, a Schedule ll controlled substance

11. The amount and type of` controlled substances attributable to
CHRISTOPHER GAYTAN are one kilogram or more of a mixture and substance

containing a detectable amount of heroin, a Schedule 1 controlled substance

 

 

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400 grams or more of a mixture and substance containing N-phenyl-N-[ 1-(2-
phenylethyl ) ~4-piperidinyl ] propanamide (more commonly known as fentanyl), a
Schedule II controlled substance and five kilograms or more of` a mixture and
substance containing a detectable amount of` cocaine a Schedule ll controlled
substance

12. The amount and type of controlled substances attributable to
CHRISTOPHER STATON are 400 grams or more of a mixture and substance
containing N-phenyl-N-[ 1-(Z-phenylethyl)-4-piperidinyl ] propanamide (more
commonly known as fentanyl), a Schedule ll controlled substance

Manner and Means

13. The defendants were part of a drug trafficking organization (DTO) that
obtained large quantities of heroin, cocaine, and fentanyl for distribution

14. lt was part of the conspiracy that members of the DTO would add
fentanyl to the heroin to increase the potency and quantity (or “Stretch”) the heroin,

15. lt was part of the conspiracy that members of the DTO distributed
controlled substances to each other and to other individuals for further sale and,
eventually, for use Law enforcement officers seized some of the controlled

substances, including:

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(a) On February 17, 2015, law enforcement agents / officers seized
approximately six kilograms of cocaine from RONALD CLEMMONS’s
residence

(b) On April 6, 2016, law enforcement agents / officers seized
approximately 594 grams of heroin Sent by U.S. Mail from Scottsdale,
Arizona to Southfield, Michigan, that was going to SEDRICK JACKSON
and/or RONALD CLEMMONS.

(c) On June 6, 2017, law enforcement agents / officers seized
approximately 971 grams of heroin and approximately 305 grams of fentanyl
from ROBERT HARRIS’s vehicle

(d) On August l, 2017, law enforcement agents / officers seized
approximately one kilogram of heroin from CHRISTOPHER GAYTAN’s
luggage

(e) On September 20, 2017, law enforcement agents / officers seized
approximately 800 grams of cocaine from SEDRICK JACKSON’s vehicle
16. lt was part of the conspiracy that members of the DTO would transport

the controlled substances between locations via commercial airlines, placing the
controlled substances in couriers’ luggage or by using a “check and miss”

technique-i.e., luggage would be checked in to and transported by the air carrier,

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but the passenger would miss his flight so that another person could retrieve the
luggage at the destination city. ln addition to these methods, members of the DTO

also transported controlled substances by passenger vehicles, some of which
contained secret compartments or “traps.”

17. lt was part of the conspiracy that the sale of controlled substances by
members of the DTO generated significant amounts of cash. l\/lembers of the DTO
would transport cash in the same manner as controlled substances discussed above
i.e., through commercial airline and passenger vehicles. ln addition, members of the
DTO would also utilize “funnel” bank accounts, e.g., depositing cash from the sale
of controlled substances at a Detroit branch of a bank and withdrawing that cash at
a Phoenix branch of the same bank soon thereafter.

18. lt was part of the conspiracy that members of the DTO would
communicate about their drug trafficking activities-including to discuss controlled
substances available prices of controlled substances, and meeting locations for
distribution of controlled substances_using cellular telephones DTO members
would frequently speak in coded language would use cellular telephones Subscribed
in fictitious and/or nominee names, and would change cellular telephone numbers
all in their attempts to thwart law enforcement detection

19. lt was part of the conspiracy that MELTWAINE DUKES and

 

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CHRISTOPHER STATON utilized STATON’s position as an officer with the
Detroit Police Department to assist the DTO. For instance STATON provided
DUKES with sensitive law enforcement information, including information about
the arrest of ROBERT HARRIS on lune 6, 2017, and registration information (e.g.,
owner’s name and address) concerning Michigan vehicles

All in violation of Title 21, United States Code Sections 84l(a)(l) and 846.

M
21 U.S.C. § 841(a)(l)
Possession With Intent to Distribute Cocaine

D-l , SEDRICK JACKSON

That on or about September 20, 2017, in the Eastem District of Michigan,
Southern Division, SEDRICK JACKSON, defendant herein, did knowingly,
intentionally and unlawfully possess with intent to distribute a controlled substance
namely, 500 grams or more of a mixture and substance containing a detectable
amount of cocaine a Schedule ll Controlled Substance in violation of Title 21,

United States Code Section 841 (a)(l ).

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M
18 U.S.C. § 924(c)
Possession of a Firearrn in Furtherance of a Drug Trafficking Crime
D-l , SEDRICK JACKSON
On or about September 20, 2017, in the Eastem District ofMichigan, Southem
Division, SEDRICK JACKSON, defendant herein, did knowingly possess a firearm,
namely one Anderson Al\/l-15 rifle in furtherance of a drug trafficking crime
namely: conspiracy to possess with intent to distribute controlled substances set forth
in Count One, and possession with intent to distribute cocaine set forth in Count
Two; in violation of Title 18, United States Code Section 924(c)(1)(A).
M
18 U.S.C. § 922(g)(1)
Felon in Possession of Firearrns
D-l, SEDRICK JACKSON
On or about September 20, 2017, in the Eastern District of Michigan, Southem
Division, SEDRICK JACKSON, defendant herein, having been convicted of a crime
punishable by imprisonment for a term exceeding one year, did knowingly possess
a firearm, namely one Anderson AM-l5 rifle that was manufactured outside the

state of Michigan and thus traveled in interstate commerce in violation of Title 18,

United States Code Section 922(g)(l).

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COUNT FIVE
21 U.S.C. § 841(a)(1)
Possession With Intent to Distribute Fentanyl
D-2, ROBERT HARRlS
That on or about June 6, 2017, in the Eastem District of Michigan, Southem
Division, ROBERT HARRIS, defendant herein, did knowingly, intentionally and
unlawfully possess with intent to distribute a controlled substance namely,
400 grams or more of a mixture and substance containing a detectable amount of N-
phenyl-N- [ l- ( 2-phenylethyl ) -4-piperidinyl ] propanamide (more commonly
known as fentanyl) in violation of Title 21, United States Code Section 841(a)(l ).
M
21 U.S.C. § 841(a)(1)
Possession with Intent to Distribute Cocaine
D~3, RONALD CLEMl\/IONS
That on or about February 17, 2015, in the Eastern District of Michigan,
Southem Division, RONALD CLEMMONS, defendant herein, did knowingly,
intentionally and unlawfully possess with intent to distribute a controlled substance
namely, five kilograms or more of a mixture and substance containing a detectable

amount of cocaine a Schedule ll Controlled Substance in violation of Title 21,

United States Code Section 841(a)(l).

ll

 

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COUNT SEVEN
18 U.S.C. § 1001(a)(2)
False Statement to a Federal Agent
D-l4, CHRISTOPHER STATON,

That on or about June 7, 2018, in the Eastern District of Michigan, Southem
Division, CHRISTOPHER STATON, defendant herein, did willfully and knowingly
make a materially false fictitious and fraudulent statement and representation in a
matter within the jurisdiction of the executive branch of the Government of the
United States, by stating to special agents of the Federal Bureau of lnvestigation that
he had not provided any law enforcement information to MELTWAINE DUKES.
The statement was false because as CHRISTOPHER STATON knew, he had
previously provided information about the registered owners and the registered
addresses of vehicles with Michigan vehicle registrations All in violation of
Title 18, United States Code Section 1001(a)(2).

M

18 U.S.C. §§ 1956(h), 1956(a)(1)(A)(i), 1956(a)(1)(B)(i)-(ii)
Conspiracy to Launder Monetary lnstruments

D-i, SEDRICK JACKSON,

D-4, YALEx JOHN GARCIA-LOPEZ,
D-5, IRIDIAN GALsz,

D-6, MELTWAlNE DUKES,

D-9, EDEN ADRIANO-GALVEZ,
D-it), JOSEPH PULlDo,

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12, MONYCA JACKSON,
13, LUZ Jll\/IENEZ,

D_
D_
l. The allegations contained in Count One through Count Seven of this
lndictment are hereby incorporated by reference
2. From an unknown date but at least by 2012, to in or about November
2017, in the Eastern District of Michigan, and elsewhere Defendants, SEDRICK
JACKSON, YALEX JOHN GARClA-LOPEZ, lRlDlAN GUADALUPE
GALVEZ, MELTWAINE DUKES, EDEN ADRlANO-GALVEZ, JOSEPH
l PULIDO, MONYCA JACKSON, and LUZ JIMENEZ, knowing that the property
involved represented the proceeds of some form of unlawful activity as defined in
Title 18, United States Code Section l956(c)(l)_that is, the proceeds of activity
which constitutes a felony under State Federal, or Foreign law, including,
specifically, proceeds from the distribution of cocaine fentanyl, and heroin, which
is a felony under Title 21 , United States Code Section 841(a)(1)_did knowingly,
intentionally and unlawfully combine conspire confederate and agree with others,
both known and unknown to the Grand Jury, to conduct and/or cause to be conducted
one or more financial transactions involving the proceeds of the unlawful activity,

with intent to promote the carrying on of the unlawful activity; to conceal and

disguise the nature location, source ownership and control of the proceeds of the

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unlawful activity; and to avoid transaction reporting requirements under federal law.

3. lt was a part of the unlawful drug trafficking conspiracy that the

i
purchase sale and distribution of large quantities of controlled substances generated
significant amounts of cash, which needed to be counted, stored, hidden and used in

discrete manner (that is, evading law enforcement detection) in order to continue the i
conspiracy During the course of the investigation, law enforcement officers seized

some of this cash, including the following:

(a) Five hundred eighty six thousand dollars ($586,000) seized from

RONALD CLEMMONS on November 26, 3013;

 

(b) Two hundred thirteen thousand two hundred eighty five dollars
($213,285) seized from a male courier sent by MELTWAINE DUKES on
January 16, 2015;

(c) Forty thousand six hundred sixty five dollars ($40,665) seized
from EDEN ADRlANO-GALVEZ on September 14, 2016;

(b) Eighty six thousand two hundred dollars ($86,200) seized from

YALEX GARClA-LOPEZ on September 19, 2017;

 

(c) Seventeen thousand dollars ($1'7,000) seized from SEDRICK

JACKSON’s residence on September 17, 2017;

 

(d) Twenty three thousand nine hundred eighty ($23,980) seized

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from a vehicle driven by lRlDlAN GALVEZ on November 28, 2017.

4. As part of the conspiracy, SEDRICK JACKSON, YALEX JOHN
GARClA-LOPEZ, lRlDlAN GUADALUPE GALVEZ, MELTWAINE DUKES,
EDEN ADRIANO-GALVEZ, JOSEPH PULlDO, MONYCA JACKSON, and LUZ
JIMENEZ and others known and unknown to the Grand Jury, conducted numerous
financial transactions involving the proceeds of the sale of controlled substances,
making deposits and withdrawals of large amounts of United States currency
through numerous bank accounts and making wire transfers in an effort to conceal
the source of that currency and to “funnel” the ninds from one location and one
person to a different location and person. Examples of these accounts / transactions
include:

(a) Forty one thousand eight hundred and fifty dollars ($41,850) in
cash was deposited between July 2013 and April 2016 into Bank of America
account x-019l, an account used by SEDRICK JACKSON and MONYCA

JACKSON and others to funnel cash to Phoenix, Arizona;

 

(b) Ninety nine thousand seven hundred and twenty dollars
(899,720) in cash was deposited between September 2015 and June 2017 into
Wells Fargo Bank Checking Account x-7350, an account used by lRDIAl\l

GALVEZ and others to funnel cash to Phoenix, Arizona;

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(c) Six thousand dollars ($6,000) in cash was deposited on May 19,
2016 in Romulus, Michigan into J.P. Morgan Chase checking account x-
2806, an account used by LUZ JIMENEZ and others, and the same amount
was withdrawn on May 23, 2016 in Avondale Arizona;

(d) Eight hundred dollars ($800) in cash was sent via Westem Union
by JOSEPH PULIDO, while in Detroit, Michigan on March 18, 2017, to
EDEN ADRIANO GALVEZ in Los l\/lochis, Mexico;

(e) Five hundred dollars (8500) in cash WaS sent via Westem Union
by YALEX GARClA-LOPEZ, while in Dearbom Heights, Michigan on
April 26, 2017, to JOSEPH PULIDO in Phoenix, Arizona;

All in violation of Title 18, United States Code Sections 1956(h),
1956(a)(1)(A)(i), and 1956(a)(1)(B)(i)-(ii).
FORFEITURE ALLEGATIONS
(18 U.S.C. §§ 924(d)(1) and 982(a)(1),
21 U.S.C. § 853, and 28 U.S.C. § 2461)
l. The allegations contained in Counts One through Nine of this
lndictment are hereby re-alleged and incorporated by reference for the purpose of

alleging forfeiture pursuant to Title 18, United States Code Section 924(d)(l), as

incorporated by Title 28 United States Code Section 2461, Title 18, United States

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Code Section 982(a)(1), and Title 21, United States Code Section 853.
2. Upon conviction of any of the Title 21 offenses set forth in Counts One
Two, Five and/or Six of this lndictment, defendants shall forfeit to the United States
their interest in the following, pursuant to Title 21, United States Code Section 853:
(1) any property constituting, or derived from, any proceeds the defendant obtained,
directly or indirectly, as the result of such offense; and/or (2) any of the defendant’s
property used, or intended to be used, in any manner or part, to commit, or to
facilitate the commission of, such offense
3. Upon conviction of any of the offenses set forth in Counts Three and/or
‘ Four of this lndictment, pursuant to Title 18, United States Code Section 924(d)(1)
and Title 28, United States Code Section 2461 , the convicted defendants shall forfeit
to the United States their interest in any firearm or ammunition involved in or used
in any knowing violation of the offenses set forth in Counts Three and Four.

4. Upon conviction of the offense set forth in Count Seven of this
lndictment, pursuant to Title 18, United States Code Section 1956, the convicted
defendant shall forfeit to the United States his interest to the following, pursuant to
Title 18, United States Code Section 982(a)(1): any property, real or personal,
involved in such offense or any property traceable to such property.

5. Substitute Assets: Pursuant to Title 21, United States Code

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Section 853(p), defendants shall forfeit any of their other property, real or personal,
up to the value of property described above if, by any act or omission of the
defendant, the property subject to forfeiture:

a. cannot be located upon the exercise of due diligence

b. has been transferred, sold to or deposited with a third party;

c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be

divided without difficulty
6. l\/loney Judgment. Upon conviction of one or more violations alleged
in this lndictment, the Government will seek a forfeiture money judgment against
the convicted defendants in an amount as is proved at trial in this matter representing

the total amount of proceeds obtained as a result of each defendants offenses

THIS lS A TRUE BlLL.

s/ Grand Jurv Foreperson
Grand Jury Foreperson

 

CaSe 2218-CI’-20323-SFC-APP ECF NO. 110

MATTHEW SCHNEIDER
United States Attomey

s/Steven P. Cares

Steven P. Cares

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S/Julie Beck

Julie Beck

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Dated: October 25, 2018

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s/Mitra JafarV-Harz`ri

Mitra Jafary-Hariri

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s/David Gardev

David Gardey

Chief, Public Corruption Unit
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ease 2-1a-cr-_20323-ch:_-APP Ec_:i= i\io 110 filed io/Qs/ia pagpir) aaa pagp_on rif on
(Companion Case information lVlUST be completed by AUSA and initialed.)

 

United States District COUrt Crimina| Case Cover Sheet CaSe Numbel°
Eastern District of Michigan
18-CR-20323

NOTE: lt is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

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Companion Case information C°""'Pa"i°" ease N"""°e"
This may be a companion case based upon LCrR 57.10 (b)(4)‘: Judge Assigned: Hon. Sean F. Cox
l:l yes No AusA’s initiais: <S'PC_

 

 

 

Case Tit|e: USA v. Sedrick Jackson, et al.

 

County where offense occurred : Wavne

Check One: EFelony l:lMisdemeanor l:lPetty

lndictment/_lnforrnation --- no prior complaint
lndictmenti'_lnformation based upon prior complaint[case number: ]
X lndictment/¢lnformation based upon Lch 57.10 (d) [compiere superseding section beiow].

Sup_grseding Case lnfgrmation

Superseding to Case No: 18»20323 Judge: Sean F. Cox
|:|Corrects errors; no additionai charges or defendants

_- lnvolves, for plea purposes different charges or adds counts
il Embraces same subject matter but adds the additional defendants or charges below:

Dfn m §_h.a.w_¢_§ ` m|`l l'|

Christopher Station 18 USC Section 1001(a)(2)
False Statement to Federal Agent

 

P|ease take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

october 25z 2018 W()` QC)M,

Date STEVEN P. CARES
ASsistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, l\/l| 48226-3277
Phorie: 313-226-9139
Fax: 313-226-3413
E-l\/|ail address Steven.Cares@usdoj.gov
Attorney Bar #: P68503

l Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same

ar related parties are present, and the cases arise out of the same transaction or occurrence Cases may be companion cases
even though one of them may have already been terminated

B/li

